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                  Exhibit I
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We believe the takedown demand was made by Michael Allen and/or his company, Pinnacle Employee
Services, Inc. We recently secured a legal victory against those par�es in a trademark infringement
lawsuit that they brought in U.S. District Court for the Eastern District of California. The case was
�tled Pinnacle Employee Services, Inc. and Michael Allen v. Pinnacle Holding Company, LLC, Pinnacle
Employee Services, LLC and Pinnacle Investments, LLC, bearing Index No. 2:22-cv-01367. By order of the
Court dated February 1, 2024, Docket Entry No. 46, all of Mr. Allen’s claims against our company,
including those for trademark infringement based on the par�es’ similar name, were dismissed. A�er
losing, Allen has begun harassing/spamming our social media by commen�ng a video he made claiming
we are imposters on 20+ of our posts. We have the right to use our company name to promote our
business and have been doing so since 2014 when we purchased our domain
“PinnacleEmployeeServices.com.”
